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IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

U. S. DlSTRICT COURT

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F"_E[, gm 132 2007 USDC NO. 2:03-Cv-1079 F l L E D
USDC No. 2:98-CR-57-1 gSeptember 28, 2007
LORETTA G' WH¥TE _ Charles R` Futbruge |||
C|erk Cierk
UNITED STATES OF AMERICA
Plaintii`f-Appe]lee
v.
TERRANCE E WILLIAMS, also known as Gangsta
Defendant-Appellant

 

Appeal from the United States District Court
for the Eastern District of Louisiana

 

0 R D E R:

Terrance E. Williarns, federal prisoner # 25958~034, seeks a certificate of
appealability (COA)`to appeal the district court’s denial of his 28 U.S.C. § 2255
motion challenging his conviction and sentence for continuing criminal
enterprise by virtue of controlled-substances offenses in violation of 21 U.S.C_.
§ 846. Liberally construed, Williams argues that he received ineffective
assistance of counsel because his counsel advised him to plead guilty to the
continuing criminal enterprise charge although Williarns did not meet the five

elements required for conviction under § 848.

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Williams has not demonstrated that reasonable jurists could debate the
district court’s conclusion See Slo,ck U. McDaniel, 529 U.S. 473, 484 (2000).
Accordingly, Williams’s motion for COA is DENIED.

/s/ James L. Denm's
JAMES L. DENNIS
UNITED STATES CIRCUIT JUDGE

 

